Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.555   Page 1 of 10




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN

MONIQUE GRIMES, as Personal
Representative of the Estate of
Damon Grimes, deceased,
                                      No. 2:17-cv-12860
      Plaintiff,                      Consolidated with No. 2:17-cv-13580

v                                     HON. GERSHWIN A. DRAIN

TROOPER MARK BESSNER,                 MAG. ELIZABETH A. STAFFORD
and TROOPER ETHAN
BERGER,

      Defendants.


Geoffrey N. Fieger (P30441)      Mark E. Donnelly (P39281)
James J. Harrington IV (P65351) Joseph T. Froehlich (P71887)
Gina U. Puzzuoli (P37992)        John G. Fedynsky (P65232)
Danielle L. Dezbor (P79488)      Assistant Attorneys General
Fieger, Fieger, Kenney &         Attorneys for Defendant Berger
Harrington, P.C.                 Civil Litigation, Employment &
Attorneys for Plaintiff          Elections Division
19390 West 10 Mile Road          P.O. Box 30736
Southfield, MI 48075             Lansing, MI 48909
248.355.5555                     517.373.6434
__________________________________________________________________

                    MOTION TO WITHDRAW
               AS DEFENDANT BERGER’S COUNSEL

      For the reasons stated in the accompanying brief, Assistant

Attorneys General Mark E. Donnelly and John G. Fedynsky, as well as

former Assistant Attorney General Joseph T. Froehlich, move to
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.556   Page 2 of 10




withdraw as counsel for Defendant Ethan Berger in this matter.

Defendant Berger has been advised of this request for relief, and a copy

of the motion and brief in support will be served on him.

                                          Respectfully submitted,

                                          /s/ John G. Fedynsky
                                          John G. Fedynsky (P65232)
                                          Joseph T. Froehlich (former
                                          AAG) (P71887)
                                          Mark E. Donnelly (P39281)
                                          Assistant Attorneys General
                                          Attorneys for Defendant Berger
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                                          fedynskyj@michigan.gov
                                          (517) 373-6434
Dated: May 2, 2018




                                      2
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.557   Page 3 of 10




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

 MONIQUE GRIMES, as Personal
 Representative of the Estate of
 Damon Grimes, deceased,
                                       No. 2:17-cv-12860
       Plaintiff,
                                       HON. GERSHWIN A. DRAIN
 v
                                       MAG. ELIZABETH A. STAFFORD
 TROOPER MARK BESSNER,
 and TROOPER JOHN DOE,
 Individually,

       Defendants.

 Geoffrey N. Fieger (P30441)      Mark E. Donnelly (P39281)
 James J. Harrington IV (P65351) Joseph T. Froehlich (P71887)
 Gina U. Puzzuoli (P37992)        John F. Fedynsky (P65232)
 Danielle L. Dezbor (P79488)      Assistant Attorneys General
 Fieger, Fieger, Kenney &         Attorneys for SOM and MSP
 Harrington, P.C.                 Civil Litigation, Employment &
 Attorneys for Plaintiff          Elections Division
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 Southfield, MI 48075             Lansing, MI 48909
 248.355.5555                     517.373.6434
 __________________________________________________________________

         BRIEF IN SUPPORT OF MOTION TO WITHDRAW
             AS DEFENDANT BERGER’S COUNSEL
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.558   Page 4 of 10




           CONCISE STATEMENT OF ISSUE PRESENTED

      1.    Should this Court grant this motion to withdraw as counsel?




                                      2
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.559   Page 5 of 10




                        STATEMENT OF FACTS

      Undersigned counsel first appeared for Defendant Ethan Berger

in this matter on December 28, 2017. At that time, the case was

temporarily stayed pending determination of related criminal charges

against the individual defendants. Counsel moved to extend the stay,

to consolidate E.D. Mich. Case Nos. 17-12680 and 17-13580, and for

more time to respond to the complaint on behalf of Berger.1 Counsel

advised Defendant Berger that the involvement of the Department of

Attorney General was provisional. At the scheduling conference on

March 27, 2018, counsel also informed the Court and Plaintiff’s counsel

that the involvement of the Department of Attorney General was

provisional and subject to a future determination whether other counsel

would be provided (which would mean a substitution of counsel) or no

other counsel would be provided (which would mean a motion to

withdraw).




1The Court declined to extend the stay, granted consolidation, and
extended Berger’s response date to February 20, 2018. (E.D Mich. No.
17-13580, R. 13 & 15; E.D. Mich. No. 17-12860, R. 47.) Counsel filed
Berger’s answer on February 20, 2018. (E.D. Mich. No. 17-13580, R.
14.)

                                      3
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.560   Page 6 of 10




      Pursuant to the collective bargaining agreement and applicable

civil service rules, the Michigan State Police (MSP) requested

representation for Berger while he was suspended pending

investigation. Under applicable MSP policy, the internal affairs

investigation could not proceed until after the Wayne County

Prosecutor made charging decisions. On December 19, 2017, Prosecutor

Kim Worthy announced homicide charges against Defendant Mark

Bessner. She also announced no criminal charges were being filed

against Berger for his role as driver of the pursuit police vehicle.

      In short order, MSP initiated its internal affairs investigation of

Berger. In late February, he received a notice of administrative

interview set for March 2, 2018. Berger was interviewed and received a

statement of charges and proposed discipline on March 20, 2018. MSP

determined that Berger committed misconduct related to this case and

terminated his employment on March 29, 2018. Berger has grieved this

decision, which is the subject of pending arbitration proceedings.

      On April 30, 2018, MSP advised Berger that it would no longer

provide for his legal representation in this case and requested that the

Department of Attorney General cease representing him. Berger has



                                      4
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.561   Page 7 of 10




also grieved this decision, which is also now the subject of pending

arbitration proceedings.

                              DISCUSSION

      Under the local rules, an attorney’s appearance continues until

final resolution of all claims by or against the party represented, or

until a withdrawal or substitution order. E.D. Mich. LR 83.25(b)(1).

“An attorney may withdraw or be substituted for only on order of the

Court.” E.D. Mich. LR 83.25(b)(2). The local rules also state that the

Rules of Professional Conduct adopted by the Michigan Supreme Court

apply to members of the bar who appear in the Eastern District of

Michigan. E.D. Mich. LR 83.22(b). Those rules permit an attorney to

withdraw from representation of a client if “good cause for withdrawal

exists.” Mich. R. Prof. Conduct 1.16(b)(6). Accordingly, this Court

should apply its local rules and the state bar rules in tandem to decide

this motion to withdraw. See Brandon v. Blech, 560 F.3d 536 (6th Cir.

2009) (applying Kentucky rules).

      Good cause exists here for several reasons. Berger, the Court, and

Plaintiff’s counsel were informed from the outset that the involvement

of the Department of Attorney General in this matter was provisional.



                                      5
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.562   Page 8 of 10




Continued involvement depended upon MSP concluding its

investigation and determining Berger’s employment and representation

status. Those determinations were made, adverse to Berger, and

consistent with applicable civil service rules and collective bargaining

provisions. Berger’s pending arbitrations are for another forum to

decide. The complaint has been answered, initial discovery has been

exchanged, and the parties are scheduled for an early facilitation on

May 22, 2018.2

      Under the circumstances, the Court in its discretion should grant

the request to withdraw as counsel.3 Any prejudice to Berger or

Plaintiff may be addressed separately by the Court in a modified

scheduling order, or otherwise. Counsel will take all reasonable

transition steps upon termination of representation. Mich. R. Prof.

Conduct 1.16(d).




2 On behalf of MSP, the Department of Attorney General intends to
participate in the early facilitation.
3 Additionally, former AAG Joseph Froehlich has left employment with

the Department of General and should be permitted to withdraw from
this matter on that alternative basis.

                                      6
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.563   Page 9 of 10




             CONCLUSION AND RELIEF REQUESTED

      Counsel respectfully request that the Court grant this motion to

withdraw, and grant any other appropriate relief.

                                          Respectfully submitted,


                                          /s/ John G. Fedynsky
                                          John G. Fedynsky (P65232)
                                          Joseph T. Froehlich (former
                                          AAG) (P71887)
                                          Mark E. Donnelly (P39281)
                                          Assistant Attorneys General
                                          Attorneys for Defendant Berger
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Dated: May 2, 2018




                                      7
Case 2:17-cv-12860-GAD-EAS ECF No. 59 filed 05/02/18   PageID.564   Page 10 of 10




                 CERTIFICATE OF SERVICE (E-FILE)

       I hereby certify that on May 2, 2018, I electronically filed the

 above document(s) with the Clerk of the Court using the ECF System,

 which will provide electronic copies to counsel of record. Additionally,

 counsel sent a copy of this motion and brief to Defendant Ethan Berger

 via first-class mail and via electronic mail.

                                          /s/ John G. Fedynsky
                                          Assistant Attorney General
                                          Attorney for Defendant Berger
                                          MI Dep’t of Attorney General
                                          Civil Litigation, Employment &
                                          Elections Division
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                                      8
